         Case 2:09-cv-01293-PSG-PJW Document 5 Filed 04/27/09 Page 1 of 21 Page ID #:499
           Phillip E. Benson, CA Bar #97420
           WARREI~T ■ BENSOI`T La~v Group
          620 Newport Center Dr., Ste 1100
          Ne«port Beach, CA 92660
     3    Tel: 949-721-6636; Fax: 952-955-5177
          ~~h s 1 be n>on '~i;~.~°arrenbensonl atl-.co m                                       APR 2'~
     4
                                                                                     `                   _~
          Attorney°s for Qui Tarn Plaintiff                                           ~                           ~
     5    Jack Chin                                                                 c

  6

     7
                                          UNITED STATES DISTRICT COURT
 8                                       CENTRAL DISTRICT OF CALIFORNIA                                       ~+            ->
                                                                                                                             r    N
 9                                                                                                                           i•
                                                                                                                              ,   C7
                                                                                                                          mx      C7
                                                                                                                          ~X      ~S7
                                                                                                                          -~
                                                                                                                                  Yy.
 1~                                                                                                                       It L;         i
                                                                                                                                  -n
                                                                                                              1       c
          UNITED STATES OF AMERICA,THE                                                                                c                 .
                                                                                                                                        ~ C
                                           '                          Case No. CV 09-1293 PSG [PJWx]                      r ~     N
         STATES OF CALIFORNIA. DELAWARE,
                                             ~                                                                                    J
         FLORIDA; GEORGIA, HAWAII,
 12      ILLINOIS,INDIANA,LOUISIANA,        ~                                                                         r ~ J~-

         MASSACHUSETTS,\MICHIGAN,           ~                         FCRST AMENDED COMPLAINT
 13      NEVADA.NEW HAMPSHJRE,NEW           ~                                                                                     4a

         MEXICO, OKLAHOMA,RHODE             ~
                                           ~                                                                  f           "`=
 14      ISLAND. TENNESSEE. TEXAS.                                    DEMAND FOR JURY TRIAL                   ~
                                           ~                                                                                _,
         VIKG[N[A and WISCONSIN and THE
 1~      DISTRICT OF COLUMBIA ex rel. JACK ~
                                           ~                          [FILED IN CAMERA AND UNDER
         CHIN.
 16                                        ~                          SEAL PURSUANT TO 31 U.S.C. §
                                                                      3730(b)(2))
                         Plaintiffs,                        ~
 17             vs.
                                                            ~
 18      WALGREEN COMPANY,RITE AID
         CORPORATION and CVS CAREMARK                       ~
 19      COIZPOfZAT10N.                                     ~
                                                            ~
LV                      D efendants.                        }
Zl
~z                                                                I
                                                                  ~
                                                                  '             4         ~~

L~
                                                                             ~~
                                                                                     1
L~
                                                                         APR 29           ~~
?5                                                                ~~~
                                                                                    r-~,
                                                                                       ~ ~J    Y




26
77

28
                                                                            FIRST AMENDED COMPLr~.iNT
                                                           - 1-
HPR-22-2089      ~8~5~                 WARREN BENSON LRW GRDUP                       9529555177   P.02
       Case 2:09-cv-01293-PSG-PJW Document 5 Filed 04/27/09 Page 2 of 21 Page ID #:500
                                                     ~~IGINAL
I       Phillip E. Benson, CA Bar #97420
         WARREI~T ■ BENSOI~T Law Group
2       620 Newport Center Dr., Ste 1100
        Newport Beach. CA 92660
3       Tel: 949-721-6636; Fax: 952-955-5177
        ~~h i 1 ben~on;i:ti~°arrenbensonlat-4-.com
4
        Attorneys for Qui Tam Plaintiff
5       Jack Chin

6

7
                                         UNITED STATES DISTiZICT COURT
8                                       CENTRAL DISTRICT OF CALIFORNIA

9

10
        UNITED STATES OF AMERICA,THE                           Case No. CV 09-1293 PSG [PJWx]
1 1.    STATES OF CALIFORNIA, DELAWARE,
        FLORIDA, GEORGIA,HAWAII;
12      ILLINOIS,INDIANA,LOUISIANA.                            FIRST AMENDED COMPLAINT
        MASSACHUSETTS, vIICHIGAN;
l3      NEVADA.NEW HAMPSHIRE,NEW
        MEXICO. OKLAHOMA,RHODE                                 DEMAND FOR JURY TRIAL
14      ISLAND,TENNESSEE. TEXAS.
        VIRGIN[A and WISCONSIN and THE
1~      DISTRICT OF COLUMBIA ex rel. JACK                      [FILED IN CAMERA AIVD U1vDER
        CHIN.                                                  SEAL PURSUANT TO 31 U.S.C. §
16                                                             3730(h)(2}~
                         Plaintiffs,
17              vs.

18      WALGREEN COMPANY. RITE AID
        CORPORATION and CVS CAREMARK
19      CORPORATION,

2U                       Defendants.

21

~2

23

24

25

26
?7

28
                                                                       FIRST AMENDED COMPLAINT
                                                        - 1-
 AF's-2^r-20 9 0851        WRRREN BENSON LAW GROUP                   9529555177
      Case 2:09-cv-01293-PSG-PJW    Document 5 Filed 04/27/09 Page 3 of 21 Page IDP.03
                                                                                   #:501



 1             Pursuant to Rule 15(a)(1)(A) of the Federal Rules of Civil Procedure, pui I'am Plaintiff

2      ,Tack Chin. by and through his attorneys, brings this amended complaint on behalf of the United

       States, the States of California, Delaware, Florida, Georgia, Hawaii, Illinois,

4      Indiana. Louisiana. Massachusetts. Michigan. Ve~~ada, Ne~~ Hampshire, New Mexico.

       Oklahoma, Rhode Island, Tennessee, Texas, Virginia and Wisconsin. the District of Columbia

6      and on his own behalf as follows:

7                                                      I.
8                                            JURISDICTION
9              1.      This is an action for civil damaces and penalties arising under the la~~s of the
10     United States and the laves of various states to redress violations of the False Claims Act. 31

11     U.S.C. § 3729 et s•eq. and analogous state la«-s. This Court has subject matter jurisdiction

12     pursuant to 31 U.S.C. §§ 3732(a) and (U) because the defendants transact business in this district

13     and can be found in this district. This coup has supplemental jurisdiction over the state law

14     claims for violations of the analobous state law- statutes under 28 U.S.C. § 1367 and 31 U.S.C. ~

l~     3732(b).

16                                                    lI.
17                                                VENUE

18             2.      Venue is proper in this district under 31 LT.S.C. § 3732(a) because the defendants

19     transact business in this district and can be found in this district.

20                                                   I[I.
21                                               PARTIES
22            3.       Qui Tam plaintiff Jack Chin ("Chin') is a citizen of the United States. Chin; who

23     holds a f3.S. degree in chemistry from New York University and a Doctorate in Pharmacy from
-,~    Temple university, has practiced as a licensed pharmacist in the private retail sector for the past
~~     two years. Chin is unaware of any prior public disclosure of the allegations in this case, but if and-

26     such public disclosure has occurred, Chin qualifies as an original source.

27            4.       Defendant Walgreen Company ("Walgreen") is a for profit Illinois Corporation
28
                                                                         FIRST AMENDED COMPLANT
                                                        - 2-
 APR-27-209  ~8~51        WARREN BENSON
     Case 2:09-cv-01293-PSG-PJW         LAW GROUP
                                   Document   5 Filed                04/27/09 Page 4 9529555177
                                                                                     of 21 Page IDP.~4
                                                                                                   #:502



 I     that owns and operates a nationwide chain of retail pharmacies under the "Walgreens" brand

2      throughout the United States. Walgreen is headquartered at 200 Wilmot Road. Deerfield, Il,

3      6001 .

4               5.       Defendant Rite Aid Corporation ("Rite Aid") is a for profit Delaware Corporation

       that o~~~ns and operates a nationwide chain of retail pharmacies under the Rite Aid brand

6      throughout the United States. Rite Aid is headquartered at 30 Hunter Lane, Camp Hill,

7      Pennsylvania 17011.

3               6.        Defendant CVS Caremark Corporation("CVS")is a for profit Delaware

9      Corporation that owns and operates a nationv~ ide chain of retail pharmacies under the CVS and

10     I;on~s Drug brands throughout the tTnited States. CVS is headquartered at One CVS Drive.

        Woansacket, Rhode Island 02895.
12              7.        At all times relevant hereto, defendants acted through their agents and emplo}tees
13     and the acts of defendants' agents and employees were within the scope of such agency and
14     employment.
l~                                                       [V.

16                       FIRST CLAIM AGAINST WALGREEN,RITE AID AND CVS

17                           FOR VIOLATION OF 31 U.S.C. §§ 3729(a)(1) and (a)(2)
~s            8.         Chin incorporates by reference herein the allegations made abo~~e in paragraphs
19     1-7. inclusive.
20            9.         Walgreen, Rite Aid and CVS phannacies are approved suppliers and providers of
21     pharmaceuticals, prescription drucs and other medical supplies to elibible beneficiaries of
22     ~ederallti- sponsored and funded health care programs, including Medicare, Tricare and Medicaid.
7;     Medicare and Tricare are solely funded by the federal government. Medicare is a health insurance
24     ~ro~ram for the aced and disabled under Title XVIII of the Social Security Act. Part B of
25     Medicare pays for a limited set of outpatient drugs and biologic products. Part C of Medicare,the
G lJ   Medicare Advantage("MA")Program, provides for prescription drug coverage for eligible

27     Medicare beneficiaries who select to join an MA plan which includes prescription drug coverage.

?s
                                                                         FIRST AMENDED COMPLAINT
                                                         - ~-
HF'R-2'r-2~~9     ~8~52           WRRREN BENSON LAW GROUP                                9529555177         P.~S
     Case 2:09-cv-01293-PSG-PJW Document 5 Filed 04/27/09 Page 5 of 21 Page ID #:503



1      art D of'vledicare pays for expanded outpatient prescription drug coverage to eligible

2      eneficiaries through third-part}~ insurance plans, other~~~ise known as Part D Plans ("PDPs"}.

3      ricare is an agency of the U.S. Department of Defense that administers and supervises the health

4      are pra~ram for certain active duty and retired military personnel and their dependants and pays

~     or prescription drugs supplied by pharmacies to eligible beneficiaries.

6               10.    Medicaid is medical assistance provided for certain low-income individuals under

7      state plan approved under Title XIX of the Social Security Act. State Medicaid, which is

8      artiall~~ funded by the United States Government and partially funded by the state, pays for

9      rescription drucs supplied by pharmacies to eligible beneficiaries. Participation in each state's

]0     ledicaid program is determined by regulations set by each state. Generally, each state assigns

I1     roviders, including participating pharmacies, a unique identification number which is included

l2     n each electronic claim for reimbursement. Affixing this number to a claim certifies, under each

13       e's Medicaid regulations, that as a Medicaid provider the pharmacy* is in compliance with all

14       licable state and federal regulations.

1~              1 1.   The Federal Anti-Kickback Statute prohibits any person or entity from knowingly

16   and willfully offering to pay any remuneration. directly or indirectly, overtly or covertly, in cash

17   or in kind to any person to induce such person to purchase, order; or arrange for ordering any good

18   or item for tivhich payment may be made in whole or in part under a federal health care program.

19   42 U.S.C. § 1320a-7b(b). The related Beneficiar~~ Inducements Statute prohibits "offers to or

20   transfers [ofJ remuneration to any individual eligible for benefits under [Federal health care

21   programs] that such person knows or should kno~~~ is likely to intlueace such individual to order

22   or recei~-e from a particular provider, practitioner or supplier any item or service for which

23   payment may be made. in whole or in part, under [federal health care programs]." 42 U.S.C. §
~4   1320a-7a(a)(~).

2~              12.    As a condition of enrollment as approved suppliers and providers of
26   pharmaceuticals, prescription dnigs and other medical supplies to eligible beneficiaries of the
~7   Federally sponsored health care programs, Wal~reen. Rite Aid and CVS certified that they
~S
                                                                       FIRST AMENDED COMPLAINT
                                                      - 4-
 APB-2r-20 9    a8~53     WARREN BENSON LAW GROUP                   9529555177
     Case 2:09-cv-01293-PSG-PJW    Document 5 Filed 04/27/09 Page 6 of 21 Page IDP.06
                                                                                  #:504



1      nderstood and agreed that payment of a claim by the federally sponsored health care programs

2      ~as conditioned on the claim and the underlying transaction complying with the Federal Anti-

3       ickback Statute, among other laws, regulations and program instructions, including the

4       eneticiary Inducements Statute.(See e.g. CtitS-85~S, Section 1~). Additionally, the defendants'

5      harmacy agreements with various PDPs, MA plans and Pharmacy Benefit Management Plans

6     "~'BMs"),wherein payment to the defendants is made under federally sponsored health care
7      rograms, were conditioned on the defendants' compliance with all applicable laws and

8      egulations, including the Federal Anti-Kickback Statute and the Beneficiary Inducements Statute.

9      nd that anv covered services provided by the defendants, includinc the sale of pharmaceuticals,

10     rescription drugs and other medical supplies to eli_ible beneficiaries of the federally sponsored

11     ealth care probrams, would be done in compliance with their contractual obligations, including

12     ompliance with the Federal Anti-Kickback Statute and the Beneficiary Inducements Statute.

13    Compliance w-ith the Federal Anti-Kickback Statute and the Beneficiary Inducements Statute is a

14     rerequisite to payment of federal funds. A violation of the Federal Anti-Kickback Statute or the

15     eneficiary Inducements Statutes vitiates a pro~~ider's right to receive or retain federal funds

16     rising from the related claim. A claim for payment submitted by a prodder that has violated the

17     ederal Anti-Kickback Statute or the Beneficiary Inducements Statute is a false claim for payment

18    in violation of the False Claims Act.

19             1~.   Chin is informed and believes, and hereby- alleges, that at various times during the

20     nurse oTthe last ten years, the defendants have paid unlawful remuneration to numerous eligible

21     eneficiaries of the federally sponsored health care plans and procrams in violation of the Federal

22     nti-Kickback Statute and the Beneficiary- Inducements Statute to induce such persons to

23    purchase, order, ar arrange to order or otherwise influence such persons to order prescription

;
,4   drugs and other medical supplies from the defendants' pharmacies for which payment would be

2~    made in ~~~hole or in part under a federal health care program. Specifically, defendants have given
26   to such eligible beneficiaries gift cards valued in the amount of$25 and in other varying amounts

27    which were more than nominal in order to induce such beneficiaries to transfer their patronage

28
                                                                       FIRST AMENDED COMPLAINT
                                                      - ~-
 APR-27-2~~9    ~8~53     WRRREN BENSON LAW GROUP                   9529555177
     Case 2:09-cv-01293-PSG-PJW    Document 5 Filed 04/27/09 Page 7 of 21 Page IDP.~7
                                                                                  #:505



1      nd to purchase prescription drugs and other medical supplies from the defendants_ Defendants

2     knew that such inducements offered to beneficiaries of publicly funded programs were unlawful

3      nd expressly acknowledged the unla«~fulness ofsuch inducements in the fine print of written

4       aterials advertising such gift cards in return for prescription transfers.

~              14.   Chin first obtained knowledge of the defendants" unlawful practices during his

h      mployment as a retail pharmacist by the Sweetbay Supermarket Company which operates a chain

7      f supermarkets in the Southeast United States. On numerous occasions, Medicare and Medicaid

8     beneficiaries and other federa(Iv funded health care program enrollees would present prescription

9     ransfer gift cards obtained from Wal~reen and CVS pharmacies and other large nation-wide

10     harmacy chains to him at Sw~eetbay and request that Sw~eetbay honor the gift cards as credits

11     gainst purchases at Su~~eetbay. In order to remain competitive. S~veetbay would normally honor a

12     ompetitor's gift cards, except that Chin refused to honor them if he determined that the customer

13     'as a Medicare or Medicaid beneficiary or an enrollee in a publicly funded health care program.
14     hese customers informed Chin that the defendants had provided them the gift cards in return for
IS    ransferring their prescriptions to the defendants' pharmacies and purchasing prescription drugs

16    rom the defendants.

17             15.   In order to confirm the reports that he had received from customers who were
l8     nrollees or beneficiaries offederally funded health care procrams that thev had unlawfully

19    eceived sift cards from the defendants in return for transferring their prescriptions to the

20     efendants' pharmacies and for purchasing prescription drugs from the defendants. Chin decided

21    o investigate. His investigation has confirmed that the defendants' unlawful practices are beinb

22    ommitted on a nation-wide basis.
?;                   A.      On January 31, 2009, Chin presented a prescription for his father-in-law to
?4    i Walbreens pharmacy in Clermont. Florida. The information Chin provided to the Wal~reen

2~    pharmacy informed the pharmacy that his father-in-law was a beneficiar}~ of a federally funded

26    iealth care program and the pharmacy billed the federal program for the prescription drug. When

27    shin returned to the pharmacy to pickup the prescription drug, he asked about the $25 gift card

28
                                                                        FIRST AMENDER COMPLAINT
                                                       - 6-
 APR-27-209   ~8~54              WARREr~
      Case 2:09-cv-01293-PSG-PJWBENSON LRW GROUP
                                                                   of 21 Page IDP.~8
                                  Document 5 Filed 04/27/09 Page 8 9529555177    #:506



1      for prescription drug transfers then being advertised by Walgreen and was handed a $25 gift card
2       v the Walgreen employee alone with the prescription drugs for his father-in-la~~ and a receipt

3      show~in~ the Walgreens store. the date and time of the transaction. the purchase of the
4       rescription drug identified by an RX identification number. the co-pay Chin paid for the
~       rescription and the $25 gift card.

6                     B.      On February 1, 2009. Chin repeated the same procedure for his mother-in-
7      la~r-'s drug prescription at a CVS pharmacy in Clermont, Florida. Like his father-in-law's

8       rescription, the information that Chin provided the CVS pharmacy informed the pharmacy that
9       is mother-in-law tti~as the beneficiary of a federally funded health care program. The pharmac}~

10      filled the federal program for the prescription drug and gave China $25 gift card for the

11      rescription transfer after Chin asked about the $25 git~ card then being advertised by CVS. The

12     eceipt received by Chin from the CVS pharmacy also identified the CVS store, the date and time

13      1'the transaction. the prescription by an RX identification number, the co-pay paid by Chin for
1.4    he prescription drugs and the $2~ gift card.
l~                    C.     On April 1, 2009; Chin repeated the same procedure for his father-in-law's
16      rub prescription at a CVS pharmacy in Dothan. Alabama. The information that Chin provided
17     he CV S pharmacy informed the pharmacy that his father-in-law was the beneficiary of a federally

1S     untied health care program. The pharmacy billed the federal program for the prescription drug

l9    ~ nd gave China $25 bift card for the prescription transfer after Chin asked about the $25 gift card
20     hen being advertised by CVS. The receipt received by Chin from the CVS pharmacy also
21    'dentified the CVS store, the date and time of the transaction, the prescription by an RX
22    identification number,the co-pay paid by Chin for the prescription drugs and the $25 gift card.
23                   D.      On or about 1~Iarch 24,?009. T.O.. who is a beneficiary of a
~4     federally funded health care program, presented her prescription as a new- customer to a
7j     J~'algreens pharmacy in Aurora, Colorado. The information T.O. provided to the Walgreens
 ~,    ~harmacv informed the pharmacy that she was abeneficiary- of a federally funded health care
27     ~ro~ram under ivledicare Part D. The pharmacy billed the federal program for the prescription
2R
                                                                       FIRST AMENDED COMPLAINT
                                                      - 7-
 APR-27-209 @855           WARREN BENSON LAW GROUP
      Case 2:09-cv-01293-PSG-PJW                                     of 21 Page IDP.~9
                                    Document 5 Filed 04/27/09 Page 9 9529555177    #:507



1       rug and charged T.O. a co-pay. When T.O. asked about the $25 gift card for prescription drug

2      ransfers then being ad~~ertised by Walgreen, she vvas handed a $2~ gift card by the Walgreens

3       mployee. The RX number for the prescription filled for T.O. by the Walgreens pharmacy is

4     000625-1 1616. The Walgreens gift card number is 6050634374184885.

5                    E.       On or about April 7, 2009, T.O. presented her prescription as a new

6      ustomer to a Rite Aid pharmacy in Aurora, Colorado. The information T.O. provided to the Rite

7       id pharmacy informed the pharmacy that she was a beneficiary of a federally funded health care

8      rogram under Medicare Part D. The pharmacy billed the federal program for the prescription

9      rua and charged T.O. a co-pay. When T.O. asked about the $25 gift card for prescription drug

10     -ansfers then being advertised by Rite Aid, she was handed a X25 bift card by the Rite Aid

 11     mployee. The RX identification for the prescription filled for T.O. by the Rite Aid pharmacy is

12     6284 0180578. The Rite Aid gift card number is 6006496635532094963.

13                   F.      On or about April 9, 2009. T.O. presented a prescription to the same
14      Valgreens pharmac}~ in Aurora, Colorado that had provided her a $25 gift card on March 24,

1~     009. The information T.O. provided to the Wal~reens pharmacy inforrr►ed the pharmacy that she

16     ,'as a beneficiary of a #ederally funded health care program under Medicare Part D. The pharmacy-

17      filled the federal program for the prescription drug and charged T.O. a ca-pay. When T.O. asked

18     bout the $2~ gift card for prescription drug transfers then being advertised by Walgreen, she was

19     anded a $25 gift card by the Wal~reens employee. The RX number for the prescription filled for

20      Ott by the WaI~reens pharmacy is 00~ 1067. The VValgreens gift card number is

2I     050634370152477.
~~                   G.      On or about Apri120, ?009. A.A., who is a beneficiar~~ of a

23     federally funded health care program, presented his prescriptions as a new customer to a

24     JValgreens pharmacy in Cotati, California. The information A.A. provided to the Walgreens
~j     ~harmac}~ informed the pharmacy that he was a beneficiary of a federally funded health care
26     grogram under Medicare Part D. The pharmacy billed the federal program for the prescription

?'7    hugs and charged A.A. a co-pay. When A.A. asked about the $25 gift card for prescription drug
-,g
                                                                      FIRST AMENDED COMPLAINT
                                                      - 8-
AFR-27-2~~9    0856              WARREh~ BENSON LAW GROUP                                9529555177        P.1~
     Case 2:09-cv-01293-PSG-PJW Document 5 Filed 04/27/09 Page 10 of 21 Page ID #:508



1     transfers then being advertised by Wal~reen, he was handed a $2~ gift card by the Walgreens

      employee. Walgreens RFN number for the transaction is 0308-4089-8296-0904-1720. The

3     Walgreens gift card number is 6042393158718301. The prescription numbers are 1175198 and

      1 175202.

5             16.    As a result of the defendants' knowing payment of such unlawful remunerations to

6     he beneficiaries and enrollees of federally funded health care programs to induce and reward said

7      eneficiaries and enrollees to purchase prescription drubs from the defendants. wherein such

8      rograms paid for such prescription drugs in ~~~hole or in part, defendants have knowingly caused

9      alse claims to be submitted to the federally fimded health care programs resulting in

10     eimbursement to the defendants of millions of dollars from the federally funded health care

11     ro~rams in violation of the Federal False Claims Act, 31 U.S.C. § 3729 et seq., the Federal Anti-

12    Kickback Statute, 42 U.S.C. § 1320a-7b(b), and the Beneficiary' Inducements Statute. 42 U.S.C.

13    § 1320a-7a(a)(5). Because of these acts, the United States has suffered monetary damages in an

14     mount ~~-hich will be proven at trial.

1~

16

17                                                     V.

18                  SECOND CLAIM AGAINST WALGREEN,RITE AID AND CVS

l9                  FOR VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT
~p

21            17.    Chin incorporates by reference herein the allegations made above in paragraphs

22     -16, inclusive.

23            18.    By virtue of the above-described acts, among others. defendants have knowingly

24     ubmitted, and continue to submit, directly or indirectly, to officers, employees or agents of the

25     hate of California, false Medical (California Medicaid) claims for payment or approval for

26     rescription drugs in violation of the California False Claims Act, Cal. Gov. Code ~ 12650 et seq.
?7     tecause of these acts. the State of California has suffered monetary damages in an amount which

28
                                                                       FIRST AMENDED COMPLAINT
                                                      - 9-
 AFR-27-2089     ~8~56     WARREN' BENSON LAW GROUP
      Case 2:09-cv-01293-PSG-PJW    Document 5 Filed 04/27/09 Page 119529555177   P.1~
                                                                      of 21 Page ID #:509



 1       ll he proven at trial.

2
-,
                                                        VI.
4                     THIRD CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR
ti           VIOLATION OF THE DELAWARE FALSE CLAIMS AND REPORTING ACT

6

7              l 9.     Chin incorporates by reference herein the allegations made above in paragraphs

8      1-16. inclusive.

9              20.      B~ virtue of the above-described acts, among others. defendants have icnow~ingly

]0     submitted, and continue to submit, directly or indirectly-, to officers, employees or agents of the

       State of Delaware, false Medicaid claims for payment or approval for prescription drugs in

12     violation of the Delaware False Claims and Reporting Act, Delaware Statute Title VI, Section

13     1201. Because of these acts. the State of Delaware has suffered monetary damages in an amount

 14    which will be proven at trial.

l~

16                                                      VII.

l7                    FOURTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

18                         VIOLATION OF THE FLORIDA FALSE CLAIMS ACT

19

20            21.       Chin incorporates by reference herein the allegations made above in paragraphs 1-

''1     6 inclusive.
~?            22.       B~ virtue of the above-described acts, among others, defendants have knowingly
23      ubmitted, and continue to submit. directly or indirectly, to officers, employees or agents of the

24      Mate of Florida, false Medicaid claims for payment or approval for prescription drugs in violation

;,~     f the Florida False Claims Act. Florida Statute §§68.081-68.09. Because of these acts, the State

26      f Florida has suffered monetary damages in an amount which will be proven at trial.
27
~g
                                                                        FIRST AMENDED COMPLAINT
                                                       ~(1~
AFR-27-2009 08 57        WRRREh' BENSON LAW GROUP
    Case 2:09-cv-01293-PSG-PJW    Document 5 Filed 04/27/09 Page 129529555177   P.12
                                                                    of 21 Page ID #:510



1                                                    VIII.
                   FIFTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR
                   VIOLATION OF THE GEORGIA FALSE MEDICAID CLAIMS ACT

4

             23.     Chin incorporates by reference herein the allegations made above in paragraphs 1-

     16 inclusive.
             24.     By virtue ofthe above-described acts, among others, defendants have kno~~~ingly
     submitted, and continue to submit, directly or indirectly, to officers, employees or agents of the
     State of Georgia, false 11~Iedicaid claims for payment or approval for prescription drugs in

      ~iolation ofthe Georcia False Medicaid Claims Act. § 49-4-168 et seq. Because of these acts. the
     State of GeorGia has suffered monetary damages in an amount which will be proven at trial.



                                                      IX.
                   SIXTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR
                         VIOLATION OF THE HAWAII FALSE CLAIMS ACT



            2~.      Chin incorporates by reference herein the allegations made above in paragraphs 1-
     16 inclusive.
             26.     By virtue ofthe above-described acts, among others, defendants have knowingly
     submitted, and continue to submit, directly or indirectly, to officers, employees or agents ofthe

     State of Hawaii, false Medicaid claims for payment or appeoval for prescription drugs in violation

     'of the I-Hawaii False Claims Act. Haw. Rev. Stat. § 661-21 et seq. Because of these acts, the State

     of Haw-aii has suffered monetary damages in an amount which will be proven at trial.



                                                      X.
               SEVENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR
                        VIOLATION OF THE ILLINOIS WHISTLEBLOWER

                                                                      FIRST AMENDED COMPLAINT
                                                     - 11-
AFR-27-2009 0857         WARREN AENSON LRW GROUP
    Case 2:09-cv-01293-PSG-PJW   Document 5 Filed 04/27/09 Page 139529555177   P.13
                                                                   of 21 Page ID #:511



                                     REWARD AND PROTECTION ACT



i               27.     Chin incorporates by reference herein the allecations made above in paragraphs 1-

     16 inclusive.

                28.     By virtue of the above-described acts, among others, defendants have knowingly

     submitted; and continue to submit, directly or indirectly, to officers, employees or agents of the

     State of Illinois, false vIedicaid claims for payment or approval for prescription drugs in violation

      f the Illinois Whistleblower Re«~ard and Protection Act, 740 ILCS I7~/3 et seq. Because of these

      cts. the State of Illinois has suffered monetary- damages in an amount w°hich will be proven at

       al .



                                                        XI.

                  EIGHTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

                                        VIOLATION OF THE IIVDiANA

                      FALSE CLAIMS AND WHISTLFBLOWER PROTECTION ACT



                29.     Chin incorporates by reference herein the allegations made above in paragraphs 1-

     16 inclusive.

                30.     By virtue of the abo<<e-described acts, among others, defendants have knowingly

     submitted. and continue to submit, directly or indirectly, to officers. employees or agents of the

     State of Indiana, false Medicaid claims for pa}~ment or approval for prescription drugs in violation

      f the Indiana False Claims and Whistleblo~ver Protection Act, IC 5-11-5.5-2 et seq. Because of

      hese acts, the State ofIndiana has suffered monetary damages in an amount which will be proven

      t trial



                                                       XII.

                      NINTH CLAIM AGAINST WALGREEIV,RITE AID AND CVS FOR


                                                                       FIRST AMENDED COMPLAINT
                                                       - 12-
                                                                                                           P.14
AFR-27-20 9  ~8~58
    Case 2:09-cv-01293-PSG-PJW     Document 5 Filed 04/27/09 Page 149529555177
                         WARREN' BENSON LAW GROUP
                                                                     of 21 Page ID #:512



1                      VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE

                                      PROGRAMS Il~`TEGRITY LAW



            31 _       Chin incorporates by reference herein the allegations made above in paragraphs 1-

     16 inclusive.
            32.        By virtue of the above-described acts, among others. defendants have knowingly
     submitted, and continue to submit, directly or indirectl}~, to officers, employees or agents of the

     State of Louisiana, false Medicaid claims for payment or approval for prescription drugs in

      ~iolation of the Louisiana Medical Assistance Programs Integrity Law, Louisiana Rev. Stat. §
      6:4,9.1 et seq. Because of these acts, the State of Louisiana has suffered monetary damages in an
      mount which will be proven at trial.


                                                      XIII.

                    TENTH CLAIM AGAINST WALGREEN,RITE A[D AND CVS FOR
                      VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT



              33.      Chin incorporates by reference herein the allegations made above in paragraphs 1-
     1 h inclusive.
              34.      By virtue of the above-described acts, among others, defendants have knowingly

     submitted, and continue to submit, directly or indirectly, to officers, employees or agents of the

     State of Ylassachusetts, false Medicaid claims fox payment or approval for prescription drugs in
     n~iolation of the Massachusetts False Claims Act, Mass. Gen. Laws, Ch. 12, § 5(A) et seq. Because

      f these acts, the State of Massachusetts has suffered monetary damages in an amount which will
      e proven at trial.


                                                      X1V.
               ELEVENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

                                                                       FIRST AMENDED COMPLAINT
                                                      - 13-
 AFR-27-2~~9   08 59       WARREw' BENSON LAW GRDUP                               P.15
      Case 2:09-cv-01293-PSG-PJW    Document 5 Filed 04/27/09 Page 159529555177
                                                                      of 21 Page ID #:513



1                  VIOLATION OF THE iVIICHIGAN MEDICAID FALSE CLAIMS ACT



3               3~.       Chin incorporates by reference herein the allegations made above in paragraphs ]-

       II 16 inclusive.

                36.       By virtue ofthe abo~~e-described acts, among others, defendants have knowingh

:
~      submitted. and continue to submit, directly or indirectly, to officers. employees or agents of the

7      Stage of Michican, false Medicaid claims for payment or approval for prescription drugs in

8       -iolation of the Michigan Medicaid False Claims Act, M.C,L. 400.601 et seq. Because ofthese
q       cts, the State of Michigan has suffered monetary damages in an amount which will be proven at
10



12                                                       XV.

13                TWELFTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

14                           VIOLATION OF THE NEVADA FALSE CLAIMS ACT

1~

16              ~7.       Chin incorporates by reference herein the allegations made above in paragraphs 1-

17     16 inclusive.

18              33.       By virtue of the above-described acts, among others, defendants have knowingl~~

19     submitted, and continue to submit, directly or indirectly. to officers, employees or agents of the

20     State of Nevada, false Medicaid clairr►s for pa~~ment or approval for prescription drugs in violation

21     o C the Nevada False Claims Act. Nevada Rev. Stat. ~ 3X7.010 et seq. Because of these acts. the

22     State of Nevada has suffered monetary damages in an amount which will be proven at trial.
-,~

24                                                       XV[.

25              THIRTEENTH CLAIM AGAINST WALGREEN, RITE AID AND CVS FOR
26                        VIOLATION OF THE NEW HAMPSHIRE MEDICAID FRAUD
?~                                          AND FALSE CLAIMS ACT
?g
                                                                         FIRST AMENDED COMPLAINT
                                                         - ]4 -
    APR-27-20 9 0$ 59       WRRRE'' BENSON LAW GROUP
       Case 2:09-cv-01293-PSG-PJW     Document 5 Filed 04/27/09 Page 169529555177   P.16
                                                                        of 21 Page ID #:514



1

2              39.        Chin incorporates by reference herein the allegations made above in paragraphs 1-

3        6 inclusive.

4              40.        By virtue of the above-described acts, among others, defendants have knowingly

5        ubmitted, and continue to submit. directly or indirectly, to officers, employees or agents of the

6        tate of Ne~~ Hampshire. false Medicaid claims for payment or appro~~al for prescription drugs in

7        iolation of the view Hampshire Medicaid Fraud and False Claims Act. New Hampshire Rev.

S        tat. 167:61 et seg. Because of these acts, the State of New Hampshire has suffered monetary

9        amages in an amount which will be proven at trial.

10

11                                                      XVII.

12             FOURTEENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

13                         VIOLATION OF THE NEVV JERSEY FALSE CLAIi1~IS ACT

14

15             41.        Chin incorporates by reference herein the allejations made above in paragraphs 1-

16      16 inclusive.

17             42.        By virtue of the above-described acts. among others, defendants have knowingly

18      submitted, and continue to submit, directly or indirectly, to officers. employees or agents of the

19      State of Neu' Jersey, false Medicaid claims for payment or approval for prescription drugs in

20       violation of the New Jersey False Claims Act, New Jerse}• Stat. 2(A):326-] et,seg_ Because of

21      hese acts, the State of New Jersey has suffered monetary damages in an amount which will be

22       roven at trial

23

24                                                      XVIII.

25              FIFTEENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

26                        VIOLATION OF THE NEW MEXICO FALSE CLAIMS ACT

27

28
                                                                         FIRST AMENDED COMPLAINT
                                                         - 15-
HFR-27-2a~9      ~9~~~           WRRREF' BENSON LAW GROUP                              9529555177         P.17
   Case 2:09-cv-01293-PSG-PJW Document 5 Filed 04/27/09 Page 17 of 21 Page ID #:515



                43.   Chin incorporates by reference herein the allegations made above in paragraphs 1-

    l6 inclusive.

                44.   By virtue of the above-described acts. among others. defendants have knowingl}~

    submitted. and continue to submit, directly or indirectly, to officers, employees or agents of the

    State of New Mexico, false Medicaid claims for payment or approval for prescription drubs in

     violation of the New Mexico Medicaid False Claims Act, New Mexico Stat. § 27-14-1 et seq.

      ecause of these acts, the State of New° Mexico has suffered monetary damages in an amount

      ~hich will be proven at trial.




                                                     XIX.

                SIXTEENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

                  VIOLATION OF THE RHODE ISLAND STATE FALSE CLAIMS ACT



                45.   Chin incorporates by reference herein the allebations made above in paragraphs 1-

    16 inclusive.

                46.   By virtue of the above-described acts. amonb others, defendants have knowingly

    submitted, and continue to submit. directly or indirectly, to officers, employees or agents of the

    ;State of Rhode Island, false Medicaid claims for payment or approval for prescription drugs in

    ~-iolation ofthe Rhode Island State False Claims Act. Ch.l.l, § 9-1.1-1 et seq. Because of these

    acts, the State of Rhode Island has suffered monetary damages in an amount which will be proven

    at trial.



                                                     XX.
           SEVENTEENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR
                  VIOLATION OF THE TENNESSEE MEDICAID FALSE CLAIMS ACT




                                                                     FIRST AMENDED COMPLAII~TT
                                                     - 16-
RPR-27-2~~9 ~9~0~       WRRRE~ BENSON
   Case 2:09-cv-01293-PSG-PJW         LAW GROUP
                                 Document  5 Filed                04/27/09 Page 189529555177   P.18
                                                                                   of 21 Page ID #:516



           ~7.         Chin incorporates by reference herein the allegations made above in paragraphs 1-

     6 inclusive.

           48.         By virtue of the above-described acts, among others, defendants have know°ingly

     ubmitted, and continue to submit, directh~ or indirectly, to officers, employees or agents of the

     tate of Tennessee. false Medicaid claims for payment or approval for prescription drugs in

     iolation ofthe Tennessee Medicaid False Claims Act. Tenn. Stat. §§ 7~-1-181 et seq. Because of

     iese acts, the State of Tennessee has suffered monetary damages in an arxiount which will be

     roven at trial.



                                                      XXI.

           EIGHTEENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

              VIOLATION OF THE TEXAS MEDICAID FRAUD PREVENTION ACT



           49.         Chin incorporates by reference herein the allegations made above in paragraphs 1-

    16 inclusive.

           50.         By virtue of the above-described acts, among others. defendants have knotivingly

    submitted, and continue to submit, directly or indirectly, to officers, employees or agents of the

    State of Texas, false Medicaid claims for payment or approval for prescription drubs in violation

     f the Texas Medicaid Fraud Prevention Act, Texas Human Resources Code. Ch. ~6, § 36.101 et
    ceq. Because of these acts, the State of Texas has suffered monetary damages in an amount which

     ill be proven at trial.



                                                      XXII.
           ~1IhETEENTH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

             VIOLATION OF THE VIRGINI_A FRAUD AGAINST TAXPAYERS ACT



           51.         Chin incorporates by reference herein the allegations made above in paragraphs 1-


                                                                       FIRST AMENDED COMPLAINT
                                                      - 17-
 APR-27-
    Case009  ~9~01       WRRRE' BENSON
         2:09-cv-01293-PSG-PJW         LRW GROUP
                                  Document  5 Filed               04/27/09 Page 199529555177   P.19
                                                                                   of 21 Page ID #:517



1     16 inclusive.

2            ~2.      By virtue of the above-described acts, amonc others. defendants have knowingly

3     submitted, and continue to submit, directly or indirectly, to offtcers, employees or agents of the

4     State of Virginia, false Medicaid claims for payment or approval for prescription drugs in

      violation of the Virginia Fraud Against Taxpa~~ers Act, Ch. 3, Title 8.01, Article 19.1 et sey.

6      ecause of these acts, the State of Virsinia has suffered monetary- damages in an amount which

7      ill be proven at trial.

S

9                                                    XXIII.

10            TWENTIETH CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR

]1                        VIOLATION OF THE WISCONSIN FALSE CLAIMS

12                                  FOR MEDICAL ASSISTANCE ACT

13

14           ~3.      Chin incorporates by reference herein the allegations made above in paragraphs 1-

1~    16 inclusive.

lb           ~4.      By virtue of the above-described acts, among others, defendants have knowingly

17    submitted, and continue to submit; directly or indirectly, to officers, employees or agents of the

18    State of ~~isconsin, false Medicaid claims for payment or approval for prescription drugs in

19     iolation of the Wisconsin False Claims for 1Vledical Assistance Act, W.S.A. § 20.931 et seq.

20    Because of these acts, the State of Wisconsin has suffered monetary damages in an amount ~~hich

21    vill be proven at trial.

22
?;                                                   XXIV.
~4          TWENTY FIRST CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR
~~             VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT
?~,

27

?s
                                                                       FIRST AMENDED COMPLAINT
                                                      - 18-
    APR-27-20 9 0901       WARRE`' BENSON LRW GROUP
      Case 2:09-cv-01293-PSG-PJW     Document 5 Filed 04/27/09 Page 209529555177   P.2~
                                                                       of 21 Page ID #:518



1               ~5.        Chin incorporates by reference herein the allegations made above in paragraphs 1-
        16 inclusive.

3               56.        By virtue of the above-described acts, among others, defendants have kno~vinely

4       submitted, and continue to submit, directly ar indirectly, to officers, employees or agents of the

        State of Oklahoma, false Medicaid claims for payment or approval for prescription drugs in

6        ~iolation of the Oklahoma Medicaid False Claims Act, 63 Okl. Stat. ~ 5053 et.~eq. Because of
7       hose acts. the State of Oklahoma has suffered monetary damages in an amount which will be
8        roven at trial_

9

10                                                       XXV.

11           TWENTY SECOND CLAIM AGAINST WALGREEN,RITE AID AND CVS FOR
12                               VIOLATION OF THE DISTRICT OF COLtiMBIA
13                                              FALSE CLAIMS ACT
14

1~              ~7.        Chin incorporates by reference herein the allegations made above in paragraphs 1-
16      16 inclusive.

1.7             Sb.        By virtue of the above-described acts, amonc others, defendants have kno~~in~ly
18      submitted. and continue to submit. directly or indirectl}~, to officers, employees or agents of the
19      Di istrict of Columbia,false Medicaid claims for payment or approval for prescription drugs in
20      violation of~the District of Columbia False Claims Act, D.C. Stat. § 2-308.03 et seq. Because of
21      these acts. the District of Columbia has suffered monetary damages in an amount which will be
22      proven at trial.

23

24                                                      PRAYER
2~              WHEREFORE,Plaintiffs pray thatjudgment be entered as followed:
26                         A.     In an amount equal to three times the amount of damages the United States
27                                has sustained because of the defendants' false or fraudulent claims and
?g
                                                                          FIRST AMEI~TDED COMPLAINT
                                                          - 19-
    APB-27-2~~9 09 02       WARREI =NSON
       Case 2:09-cv-01293-PSG-PJW        LAW GROUP
                                    Document  5 Filed                04/27/09 Page 219529555177   P.21
                                                                                      of 21 Page ID #:519



1                             civil penalties up to the maximum permitted by law, for the maximum qui

                              tam percentabe share allowed pursuant to 31 U,S.C. § 3730(d) and for

3                             attorney's fees. costs and reasonable expenses;

4                    B.       In an amount equal to the maximum amount of damages (multiplied under

5                             state and local laws) sustained by the States of California, Delaware,

6                             Florida, Georgia, Hawaii, Illinois, Indiana, Louisiana, Massachusetts,

7                             Michiban, Nevada, New- Hampshire. Ne~v Mexico, Oklahoma, Rhode

8                             Island, Tennessee. Texas, Virginia, Wisconsin, and the District of

9                             Columbia because of the defendants' false or fraudulent Medicaid claims

]0                            and civil penalties up to the maximum permitted by state law,for the

I1                            maximum qui tam percentage share allowed pursuant to state and local

12                            laws and for attorney's fees, costs and reasonable expenses: and

]3                   B.       For any and all other relief to which the plaintiffs may be entitled.

14

l~                                         JURY DEMAND

16           Plaintiffs request trial by jury.

17

]8           April 27, 2009                                    Respectfully Submitted,

19

20                                                             WARREN ■ BENSON Law Group

21

22

23                                                             gar.
                                                                  Phillip E. Benson
?4                                                                 Attorney for Qui Tam Plaintiff
                                                                  ,Tack Chin
?~

26
?7

~g
                                                                         FIRST AMENDED COMPLAINT
                                                       - 20-




                                                                                                       TOTAL P.21
